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8                            UNITED STATES DISTRICT COURT
9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                            EASTERN DIVISION
11                                   ) NO. EDCV 17-1872 DMG (SPx)
       UNITED STATES OF AMERICA,
12                                   )
                 Plaintiff,          )
13                                   ) [PROPOSED] ORDER GRANTING
                        vs.          )
14                                   ) GOVERNMENT’S MOTION TO
       REAL PROPERTY LOCATED AT      ) STRIKE THE CLAIM OF 10681
15     10681 PRODUCTION AVENUE,      ) PRODUCTION AVENUE, LLC AND
       FONTANA, CALIFORNIA,          ) ENTER DEFAULT
16                                   )
                 Defendant.          )
17                                   )
                                     )
18     10681 PRODUCTION AVENUE, LLC, )
                                     )
19                                   )
                 Claimant.           )
20                                   )
21
22           The Motion by Plaintiff United States of America to Strike the Claim of
23     10681 Production Avenue, LLC and Enter Default came on regularly for hearing
24     before this Court on October 18, 2019. After considering the papers submitted by
25     the parties, arguments of counsel and all other matters presented to the Court in
26     ///
27     ///
28     ///
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1      connection with the motion, IT IS HEREBY ORDERED that Plaintiff’s motion is
2      GRANTED. The claim of 10681 Production Avenue, LLC is stricken and default
3      is entered against it.
4             IT IS SO ORDERED.
5
6      DATED:                   , 2019
7                                         THE HONORABLE DOLLY M. GEE
                                          UNITED STATES DISTRICT JUDGE
8
9      Presented by:
10     NICOLA T. HANNA
       United States Attorney
11
       BRANDON D. FOX
12     Assistant United States Attorney
       Chief, Criminal Division
13
14           /s/ Steven R. Welk
       STEVEN R. WELK
15     Assistant United States Attorney
       Chief, Asset Forfeiture Section
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17     Attorneys for Plaintiff
       UNITED STATES OF AMERICA
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1                             PROOF OF SERVICE BY MAILING
2      I am over the age of 18 and not a party to the within action. I am employed by the
3      Office of the United States Attorney, Central District of California. My business
4      address is 312 North Spring Street, 14th Floor, Los Angeles, California 90012.
5            On September 16, 2019, I served a [PROPOSED] ORDER GRANTING
6      GOVERNMENT’S MOTION TO STRIKE THE CLAIM OF 10681
7      PRODUCTION AVENUE, LLC AND ENTER DEFAULT on each person or
8      entity named below by enclosing a copy in an envelope addressed as shown below
9      and placing the envelope for collection and mailing on the date and at the place
10     shown below following our ordinary office practices.
11     TO: 10681 Production Avenue, LLC
12         c/o Zhijie Wang
           2335 Horizon Way
13         Tustin, CA 92782
14     X I am readily familiar with the practice of this office for collection and
15     processing correspondence for mailing. On the same day that correspondence is
16     placed for collection and mailing, it is deposited in the ordinary course of business
17     with the United States Postal Service in a sealed envelope with postage fully
18     prepaid.
19       Via Hand Delivery
20           I declare under penalty of perjury under the laws of the United States of
21     America that the foregoing is true and correct.
22           I declare that I am employed in the office of a member of the bar of this
23     court at whose direction the service was made.
24           Executed on: September 16, 2019 at Los Angeles, California.
25
                                                            /s/ Tina Keleshyan
26                                                       TINA KELESHYAN
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